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                                                                                                   UNITED STATES DISTRICT COURT
                                                                         10
                                                                                                 CENTRAL DISTRICT OF CALIFORNIA
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                                                                              DELROY CARR and GERALDINE                CASE NO.: 2:20-CV-03482-RGK-SK
                                                                         12 CARR,
                           681 ENCINITAS BOULEVARD, SUITE 315




                                                                         13                                            DEFENDANT PRINCESS CRUISE
                                   ENCINITAS, CA 92024




                                                                                          Plaintiffs,                  LINE LTD.’S MOTION TO DISMISS
                                                                         14 vs.

                                                                         15 PRINCESS CRUISE LINES, LTD.,
                                                                                                                       Date: July 27, 2020
                                                                         16               Defendants.                  Time: 9:00 a.m.
                                                                                                                       Judge: Hon. R. Gary Klausner
                                                                         17                                            Courtroom: 850
                                                                         18
                                                                                                                       Magistrate: Hon. Steve Kim
                                                                         19                                            Filed: 04/15/2020
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                                                                              DEFENDANT’S MOTION TO DISMISS                                2:20-CV-03482-RGK-SK
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                                                                          1         Defendant, PRINCESS CRUISE LINES, LTD. (hereafter “Defendant” or
                                                                          2 “PRINCESS”), hereby files this Motion to Dismiss the Complaint filed by Plaintiffs

                                                                          3 herein. In the interests of judicial economy, the court is hereby advised that this

                                                                          4 motion is nearly identical to Motion to Dismiss filed in the Hachinsky matter in that

                                                                          5 both are premised on almost identical Complaints and involve only Plaintiffs who

                                                                          6 were aboard the same cruise and who allege that at some undisclosed time after their

                                                                          7 cruise they tested positive for COVID-19, but they do not allege any symptoms of

                                                                          8 the virus, any substantial physical manifestation to their emotional distress, nor any

                                                                          9 facts connecting Defendant’s alleged conduct with their positive COVID-19

                                                                         10 diagnosis. For the reasons set forth below, Plaintiffs’ Complaint should be
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                                                                         11 dismissed.
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                                                                         12         This motion is made following several conferences of counsel pursuant to
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                                                                         13 L.R. 7-3 which took place between May 7, 2020 and June 1, 2020.
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                                                                         14 I.      INTRODUCTION
                                                                         15         This is a tort case brought by Plaintiffs who do not allege any physical injury
                                                                         16 and whose allegations of emotional harm are squarely foreclosed by established

                                                                         17 precedent. The Court should dismiss this case for failure to state a claim.

                                                                         18         Plaintiffs allege that they were among the thousands of passengers on the
                                                                         19 Grand Princess cruise ship who embarked on February 21, 2020. (Compl. ¶ 11.)

                                                                         20 Like the vast majority of those passengers, Plaintiffs do not allege that they suffered

                                                                         21 any physical symptoms of COVID-19. Rather, Plaintiffs’ Complaint is nearly

                                                                         22 identical to numerous complaints filed by the same Plaintiffs’ attorneys representing

                                                                         23 other passengers aboard this same cruise seeking emotional distress damages based

                                                                         24 only on a fear of contracting COVID-19.1

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                                                                              Weissberger v. Princess Cruise Lines Ltd, No. 2:20-CV-02267-RGK-SK; Abitbol v. Princess
                                                                         26 Cruise  Lines Ltd, No. 2:20-CV-02414-RGK-SK; Austin v. Princess Cruise Lines Ltd, No. 2:20-
                                                                            CV-02531-RGK-SK;       Gleason v. Princess Cruise Lines Ltd, No. 2:20-CV-02328-RGK-SK;
                                                                         27 Jacobsen v. Princess Cruise  Lines Ltd, No. 2:20-CV-02860-RGK-SK; Jones v. Princess Cruise
                                                                            Lines  Ltd, No. 2:20-CV-02727-RGK-SK;     Kurivial v. Princess Cruise Lines Ltd, No. 2:20-CV-
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                                                                          1         The sole difference between this Complaint and the form complaint Plaintiffs’
                                                                          2 counsel filed in all those other cases is the addition of a single passing mention that

                                                                          3 the Plaintiffs tested positive for COVID-19 at some unspecified time after they

                                                                          4 returned to their home in England. Plaintiffs do not allege any financial loss related

                                                                          5 to the diagnosis and only allege emotional distress.

                                                                          6         But courts have held that a bare diagnosis, without any actual symptoms
                                                                          7 causing some sort of functional impairment, is not a cognizable physical harm

                                                                          8 sufficient to support a disease claim such as is alleged here. Nor does a mere

                                                                          9 diagnosis support a claim for emotional distress; courts hold that plaintiffs must

                                                                         10 allege objectively serious physical manifestations of their claimed emotional
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                                                                         11 distress.
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                                                                         12         Allowing for liability based purely on a diagnosis—particularly without any
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                                                                         13 allegation tying Plaintiffs’ alleged diagnosis to Princess—would permit virtually all
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                                                                         14 of the harmful consequences as were addressed in Defendant’s Consolidated Motion

                                                                         15 to Dismiss this same law firm’s many “fear of COVID” cases. (See Consolidated

                                                                         16 Motion to Dismiss, D.E. 31, filed in Case No. 2:20-CV-02267-RGK-SK). This is

                                                                         17 particularly important here when dealing with a virus which causes no symptoms

                                                                         18 whatsoever in a large percentage of the people who ultimately test positive for the

                                                                         19 virus. Even if Plaintiffs could recover for their diagnosis in theory, their Complaint

                                                                         20 does not plausibly allege facts to establish causation. To the contrary, Plaintiffs

                                                                         21 admit that they were quarantined on the vessel and did not test positive for COVID-

                                                                         22 19 “until they got off the ship and flew back home to England.” (Compl. ¶ 21.)

                                                                         23 Plaintiffs, however, never affirmatively that they contracted the disease on the

                                                                         24 vessel or as a result of PRINCESS’s conduct nor state any facts demonstrating this

                                                                         25

                                                                         26 02361-RGK-SK;     Lane v. Princess Cruise Lines Ltd, No. 2:20-CV-02865-RGK-SK; Mendenhall v.
                                                                            Princess Cruise Lines Ltd, No. 2:20-CV-02753-RGK-SK; Sheedy v. Princess Cruise Lines Ltd,
                                                                         27 No. 2:20-CV-02430-RGK-SK; Chao v. Princess Cruise Lines Ltd, No. 2:20-CV-03314-RGK-SK;
                                                                            James v. Princess Cruise Lines Ltd, No. 2:20-CV-03868-RGK-SK; Stramel v. Princess Cruise
                                                                         28 Lines Ltd, No. 2:20-CV-03960-RGK-SK; and others.

                                                                                                                          2
                                                                              DEFENDANT’S MOTION TO DISMISS                                       2:20-CV-03482-RGK-SK
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                                                                          1 essential element of their claim.

                                                                          2         With the COVID-19 pandemic, a flood of lawsuits has already begun. In just
                                                                          3 the first few months of this pandemic, more than 30 lawsuits have already been filed

                                                                          4 just from this one cruise ship, with similar cases filed relating to passengers on other

                                                                          5 cruises and other vessels. And there is no reason to think the flood will abate. As of

                                                                          6 the date of filing this brief, approximately two million cases of COVID-19 have

                                                                          7 been confirmed in the United States and approximately 7 million cases worldwide.2

                                                                          8         Given the millions of confirmed cases of COVID-19, it is inevitable that
                                                                          9 thousands of schools, nursing homes, shopping centers, stadiums, parks, and

                                                                         10 businesses across America have had cases on their premises. A positive COVID-19
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                                                                         11 test result, without more, cannot be carte blanche to sue any business that had an
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                                                                         12 infected individual patronize that business at some point in time in the past. To
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                                                                         13 allow Plaintiffs to bring such a claim without any evidence Plaintiffs suffered any
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                                                                         14 real harm and without any evidence establishing causation between Defendant’s

                                                                         15 alleged conduct and Plaintiff’s diagnosis, would further forestall the economy’s

                                                                         16 reopening. This is especially troublesome provided the extent of asymptomatic cases

                                                                         17 (where an individual test positive for COVID-19 or for COVID-19 antibodies yet

                                                                         18 never exhibits symptoms). By allowing this case to go forward as pled, anyone with

                                                                         19 a positive COVID-19 test could pick the deepest pocket business they visited and

                                                                         20 claim they are entitled to millions of dollars in damages simply because another

                                                                         21 individual who later tested positive had been in the same area previously.

                                                                         22 Businesses cannot open if they are to be held liable to individuals who merely claim

                                                                         23 they tested positive for COVID-19 at some point after visiting a business where

                                                                         24 another infected individual was present.

                                                                         25         Plaintiffs are seeking over $1 million each for emotion distress related to
                                                                         26
                                                                              2
                                                                         27    See Coronavirus Disease 2019 (COVID-19), Cases in the U.S., Centers for Disease Control and
                                                                              Prevention, https://www.cdc.gov/coronavirus/2019-ncov/cases-updates/cases-in-us.html.
                                                                         28

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                                                                              DEFENDANT’S MOTION TO DISMISS                                        2:20-CV-03482-RGK-SK
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                                                                          1 having tested positive for COVID-19. Courts require that a plaintiff experience

                                                                          2 symptoms of their contracted illness, and serious physical consequences from their

                                                                          3 emotional distress before allowing recovery for the damages alleged herein. Here,

                                                                          4 Plaintiffs do not allege they suffered any symptoms of the virus nor any physical

                                                                          5 manifestation of their alleged emotional distress. Finally, Plaintiffs’ request for

                                                                          6 punitive damages is flatly insufficient under the strict standards governing punitive

                                                                          7 damages in maritime claims.

                                                                          8         For the reasons set forth herein, Plaintiffs’ Complaint fails to allege sufficient
                                                                          9 facts to state a claim to relief and must be dismissed.

                                                                         10 II.     LEGAL STANDARD
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                                                                         11         To survive a Rule 12(b)(6) motion, a complaint must allege “enough facts to
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                                                                         12 state a claim to relief that is plausible on its face.” Bell Atl. Corp. v. Twombly, 550
                           681 ENCINITAS BOULEVARD, SUITE 315




                                                                         13 U.S. 544, 570 (2007). “Factual allegations must be enough to raise a right to relief
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                                                                         14 above the speculative level, … on the assumption that all the allegations in the

                                                                         15 complaint are true (even if doubtful in fact).” Id. at 555 (citations omitted). “The

                                                                         16 plausibility standard “asks for more than a sheer possibility that a defendant has

                                                                         17 acted unlawfully.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). “A pleading that

                                                                         18 offers labels and conclusions or a formulaic recitation of the elements of a cause of

                                                                         19 action will not do.” Id.

                                                                         20 III.    MEMORANDUM OF LAW
                                                                         21         Recognizing the potential for widespread liability in disease exposure cases,
                                                                         22 courts apply strict limits on such cases including the requirement that a plaintiff

                                                                         23 must suffer symptoms of the contracted illness and must plausibly allege serious

                                                                         24 physical manifestations of their purported emotional distress. Metro-North

                                                                         25 Commuter R. Co. v. Buckley, 521 U.S. 424, 427 (1997); Ainsworth v. Penrod

                                                                         26 Drilling Co., 972 F.2d 546 (5th Cir. 1992); Williams v. Carnival Cruise Lines, Inc.,
                                                                         27 907 F. Supp. 403, 407 (S.D. Fla. 1995).            Plaintiffs have not alleged either.
                                                                         28 Accordingly, their case fails to state a cause of action and should be dismissed under

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                                                                              DEFENDANT’S MOTION TO DISMISS                                     2:20-CV-03482-RGK-SK
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                                                                          1 Rule 12(b)(6). Beyond these shortcomings, the Complaint should also be dismissed

                                                                          2 based on its failure to allege any facts establishing causation and their request for

                                                                          3 punitive damages should be dismissed or stricken.

                                                                          4       A. Federal Maritime Law Applies to Plaintiffs’ Claims
                                                                          5          As Plaintiffs acknowledge by invoking this Court’s maritime jurisdiction and
                                                                          6 stating that the case “involves a maritime tort” (Compl. ¶ 3), Federal maritime law

                                                                          7 applies to Plaintiffs’ claims.3 Maritime law applies when “(1) the alleged wrong

                                                                          8 occurred on or over navigable waters, and (2) the wrong bears a significant

                                                                          9 relationship to traditional maritime activity.” Williams v. United States, 711 F.2d

                                                                         10 893, 896 (9th Cir.1983). “‘[V]irtually every activity involving a vessel on navigable
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                                                                         11 waters” is      a “traditional maritime activity sufficient to invoke maritime
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                                                                         12 jurisdiction.” See Taghadomi v. United States, 401 F.3d 1080, 1087 (9th Cir. 2005)
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                                                                         13 ((quoting Jerome B. Grubart, Inc. v. Great Lakes Dredge & Dock Co., 513 U.S.
                                   ENCINITAS, CA 92024




                                                                         14 527, 542 (1995))); Wilkinson v. Carnival Cruise Lines, Inc., 920 F.2d 1560, 1654 n.

                                                                         15 10 (11th Cir. 1991) (“In maritime tort cases such as this one, in which injury occurs

                                                                         16 aboard a … ship upon navigable waters, federal maritime law governs the

                                                                         17 substantive legal issues.”).

                                                                         18       B. Plaintiffs Cannot Recover for Emotional Distress
                                                                         19          Black-letter principles of maritime law foreclose Plaintiffs from recovering
                                                                         20 for emotional distress, the only harm Plaintiffs allege in the Complaint.

                                                                         21          1. To Recover for Emotional Distress Plaintiffs Must Plausibly Allege That
                                                                                        They Suffered Symptoms of That Disease
                                                                         22

                                                                         23          For the period before Plaintiffs’ alleged diagnosis, recovery for emotional
                                                                         24 distress is barred. Under the Supreme Court’s decision in Metro-North, a plaintiff

                                                                         25 alleging emotional distress from such exposure “cannot recover unless, and until, he

                                                                         26
                                                                         27
                                                                              3
                                                                               Plaintiffs’ Passage Contract applicable to their voyage similarly invokes maritime law. See,
                                                                              https://www.princess.com/legal/passage_contract/plc.html at Section 1.
                                                                         28

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                                                                              DEFENDANT’S MOTION TO DISMISS                                         2:20-CV-03482-RGK-SK
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                                                                          1 manifests symptoms of a disease.” Metro-North Commuter R. Co. v. Buckley, 521

                                                                          2 U.S. 424, 427 (1997). The Court has made clear that its rule applies not just to

                                                                          3 claims based on exposure to toxins like asbestos, but to any claim based on alleged

                                                                          4 exposure to a potential source of disease—specifically including “germ-laden air.”

                                                                          5 Metro-North, 521 U.S. at 437. The Supreme Court “sharply circumscribed”

                                                                          6 recovery under federal law specifically to avoid the “uncabined recognition of

                                                                          7 claims for negligently inflicted emotional distress,” which would “hol[d] out the

                                                                          8 very real possibility of nearly infinite and unpredictable liability for defendants.”

                                                                          9 Norfolk & W. Ry. Co. v. Ayers, 538 U.S. 135, 146 (2003) (quoting Consolidated Rail

                                                                         10 Corp. v. Gottshall, 512 U.S. 532, 546 (1994)).
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                                                                         11         The hard-and-fast rule from Metro-North, precluding a plaintiff’s recovery for
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                                                                         12 emotional distress claims “unless, and until, he manifests symptoms of a disease,”
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                                                                         13 thus squarely forecloses any recovery for harm caused prior to their alleged
                                   ENCINITAS, CA 92024




                                                                         14 contraction of COVID-19. 521 U.S. at 427.

                                                                         15         2. To Recover for Emotional Distress Plaintiffs Must Plausibly Allege A
                                                                         16            Physical Manifestation of the Claimed Distress

                                                                         17         For the period after Plaintiffs’ alleged diagnosis, recovery for emotional
                                                                         18 distress still fails because there is no alleged physical manifestation of the claimed

                                                                         19 distress. A positive COVID-19 test result in and of itself is not legally sufficient to

                                                                         20 support a claim for emotional distress. Rather, courts require that claimed emotional

                                                                         21 distress must cause non-trivial physical consequences. In other words, “[g]eneral

                                                                         22 maritime law requires an ‘objective manifestation’ of the emotional injury—a

                                                                         23 physical injury or effect which arises from the emotional injury.” Wyler v. Holland

                                                                         24 Am. Line-USA, Inc., 2002 WL 32098495, at *1 (W.D. Wash. Nov. 8, 2002); accord

                                                                         25 Martinez v. Bally’s Louisiana, Inc., 244 F.3d 474, 477-478 (5th Cir. 2001); Duet v.

                                                                         26 Crosby Tugs, LLC, 2008 WL 5273688, at *3 (E.D. La. Dec. 16, 2008) (“Plaintiff’s
                                                                         27 emotional distress was not provoked by a physical injury, rather, plaintiff’s physical

                                                                         28 injury was provoked by emotional distress”); Tassinari v. Key W. Water Tours, L.C.,

                                                                                                                       6
                                                                              DEFENDANT’S MOTION TO DISMISS                                   2:20-CV-03482-RGK-SK
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                                                                       1 480 F. Supp. 2d 1318, 1325 (S.D. Fla. 2007) (“[S]tand-alone claims for negligent

                                                                       2 infliction of emotional distress require a physical manifestation of emotional

                                                                       3 injury.”).

                                                                       4         Courts impose this physical-manifestation requirement because it “furnishes a
                                                                       5 ‘guarantee of genuineness’ to the fact-finder, thus limiting the prospects for a flood

                                                                       6 of fraudulent claims.” Williams v. Carnival Cruise Lines, Inc., 907 F. Supp. 403,

                                                                       7 407 (S.D. Fla. 1995); see also Tassinari, 480 F. Supp. 2d at 1325 (S.D. Fla. 2007)

                                                                       8 (citing “the beneficial public policy of placing an objective and easily applied

                                                                       9 restriction on frivolous claims”).

                                                                      10         Under this rule, minor physical consequences are not sufficient. See, e.g.,
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                                                                      11 Williams v. Carnival Cruise Lines, Inc., 907 F. Supp. 403, 407 (S.D. Fla. 1995)
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                                                                      12 (plaintiffs could not recover even though they were in the zone of danger because
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                                                                      13 they “complain[ed] only of fear and/or seasickness which in most cases lasted no
                                   ENCINITAS, CA 92024




                                                                      14 more than a few days”); Ainsworth v. Penrod Drilling Co., 972 F.2d 546 (5th Cir.

                                                                      15 1992) (barring recovery for emotional distress where the plaintiff suffered “trivial”

                                                                      16 injuries, including upset stomach, headache, and pulled muscles); Ellenwood v.

                                                                      17 Exxon Shipping, 795 F. Supp. 31, 35 (D. Me. 1992) (loss of sleep and loss of

                                                                      18 appetite insufficient).

                                                                      19         Plaintiffs’ Complaint contains no allegation of any physical manifestations of
                                                                      20 their emotional distress, let alone the serious and significant physical manifestation

                                                                      21 which is required. As explained, such allegations are a prerequisite to stating a claim

                                                                      22 for emotional distress. Plaintiffs’ allegations that they “are suffering from emotional

                                                                      23 distress” and are “traumatized” are exactly the sorts of generalized allegations of

                                                                      24 fear and anxiety that courts have held are clearly insufficient to support a claim for

                                                                      25 emotional distress. Supra; see, e.g., Williams v. Carnival Cruise Lines, Inc., 907 F.

                                                                      26 Supp. 403, 407 (S.D. Fla. 1995). This failure to allege a physical manifestation also
                                                                      27 provides an independent reason why plaintiffs cannot recover for the period before

                                                                      28 the alleged diagnosis. Thus, even if Plaintiffs had adequately pled that they

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                                                                       1 contracted COVID-19 as a result of Defendant’s conduct, their emotional-distress

                                                                       2 claims would nonetheless fail for the separate reason that they have not adequately

                                                                       3 pled a physical manifestation of their emotional distress.

                                                                       4         Independently, plaintiffs cannot recover even following their alleged
                                                                       5 diagnosis because they have not alleged any “genuine and serious” manifestation of

                                                                       6 actual, physical symptoms. Norfolk & W. Ry. Co. v. Ayers, 538 U.S. 135, 157-58

                                                                       7 (2003) (quoting Smith v. A.C. & S., Inc., 843 F.2d 854, 859 (5th Cir.1988)). The

                                                                       8 Supreme Court in Ayers allowed a plaintiff diagnosed with cancer to recover for

                                                                       9 distress from his fear of cancer—a debilitating and often fatal long-term disease. But

                                                                      10 as explained below (infra section III.C), courts do not allow recovery based on mere
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                                                                      11 diagnoses absent some sort of concrete, “functional impairment” like that
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                                                                      12 accompanying cancer. Unless a plaintiff genuinely and seriously fears that sort of
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                                                                      13 tangible, functional impairment at the time he files suit, then he cannot recover for
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                                                                      14 emotional distress. That rule is necessary to avoid an anomalous, arbitrary result: a

                                                                      15 plaintiff would be able to recover for the fear of something that, if it came to pass,

                                                                      16 he could not actually recover for as a physical harm.

                                                                      17      C. Plaintiffs Cannot Recover for a Mere Diagnosis, Without More, as a
                                                                      18         “Physical Harm”

                                                                      19         Plaintiffs do not allege any non-emotional injury. Instead, they lodge
                                                                      20 conclusory statements that they are at “risk of immediate physical injury” (Compl. ¶

                                                                      21 3.) They have not plausibly alleged any physical harm that is recoverable under

                                                                      22 maritime law. Plaintiffs allege nothing that could plausibly be “physical” beyond the

                                                                      23 positive diagnosis itself. Plaintiffs’ failure to allege any actual physical injury or

                                                                      24 what the injury consists of should be the end of the matter.

                                                                      25         Courts reject claims of physical injury based only on positive tests for
                                                                      26 asymptomatic diseases. Rather, a plaintiff claiming “compensable harm” from a
                                                                      27 disease must “adduc[e] objective testimony of a functional impairment.” In re

                                                                      28 Hawaii Fed. Asbestos Cases, 734 F. Supp. 1563, 1567 (D. Haw. 1990) (emphasis

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                                                                       1 added); See e.g., Sheridan v. Cabot Corp., 113 F. App’x 444, 448 (3d Cir. 2004)

                                                                       2 (noting that the “Pennsylvania Supreme Court” has held “that asymptomatic pleural

                                                                       3 thickening is not a sufficient physical injury to warrant damages, and emphasizing

                                                                       4 that that plaintiffs were free to initiate lawsuits “when symptoms develop and

                                                                       5 physiological impairment begins”); Sondag v. Pneumo Abex Corp., 55 N.E.3d 1259,

                                                                       6 1265 (Ill. App. Ct. 2016) (“To qualify as ‘physical harm,’ the alteration of the body

                                                                       7 must have a detrimental effect in a more practical sense, such as by causing

                                                                       8 noticeable respiratory symptoms”) (citing Ackison v. Anchor Packing Co., 120 Ohio

                                                                       9 St.3d 228, 897 N.E.2d 1118, 1125 (2008); Giffear v. Johns-Manville Corp. (Pa.

                                                                      10 Super. Ct. 1993) 429 Pa.Super. 327, 340 [632 A.2d 880, 887-88], aff'd sub
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                                                                      11 nom. Simmons v. Pacor, Inc. (1996) 543 Pa. 664 [674 A.2d 232] (a claim of
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                                                                      12 asymptomatic pleural thickening does not rise to the level of a legally cognizable
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                                                                      13 cause of action or, in other words, a legally compensable injury); Owens–Illinois v.
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                                                                      14 Armstrong, 87 Md.App. 699, 591 A.2d 544, 561 (1991), aff'd in part and rev'd in

                                                                      15 part on other grounds, 326 Md. 107, 604 A.2d 47 (1992); Restatement (Third) of

                                                                      16 Torts: Liability for Physical and Emotional Harm § 4, Reporters’ Note to cmt. c, at

                                                                      17 59–60 (2010) (“An unfortunate and aberrational exception to the self-correction of

                                                                      18 small or trivial harms explained in this Comment is asbestos claims by plaintiffs

                                                                      19 who suffer no clinical symptoms but who have abnormal lung X-rays, a condition

                                                                      20 known as pleural plaque. Some courts have responded by requiring that an asbestos

                                                                      21 plaintiff prove the existence of clinical symptoms before sufficient bodily injury

                                                                      22 exists.”)). Plaintiffs cannot recover under either of their causes of action without

                                                                      23 alleging physical harm.

                                                                      24             A COVID-19 diagnosis, without more, is not in itself a compensable physical
                                                                      25 harm. It is now accepted that most individuals who contract COVID-19 never

                                                                      26 experience symptoms.4 And the complaint contains no allegation of any actual
                                                                      27
                                                                           4
                                                                               Plaintiffs’ Complaint itself acknowledges this fact, noting the rate of positive cases “especially
                                                                      28

                                                                                                                              9
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                                                                       1 impairment due to the alleged diagnoses. Treating a positive test result with nothing

                                                                       2 more as a “physical “harm” worth $1 million in compensatory damages, plus

                                                                       3 punitive damages, expands tort liability in the same unlimited and unpredictable

                                                                       4 way as allowing claims for pure emotional distress. Finding Plaintiffs’ claims

                                                                       5 sufficient would invite harsh policy consequences the Supreme Court has warned

                                                                       6 against. See Metro-North Commuter R. Co. v. Buckley, 521 U.S. 424 (1997);

                                                                       7 Consolidated Rail Corp. v. Gottshall, 512 U.S. 532 (1994); Norfolk & W. Ry. Co. v.

                                                                       8 Ayers, 538 U.S. 135 (2003). COVID-19 is a widespread pandemic, and is well-

                                                                       9 known to be transmittable through airborne droplets. Any business, school, church

                                                                      10 or other venue alleged to have opened its doors a day too soon could be exposed to
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                                                                      11 claims of emotional distress from anyone who stepped inside and then later tested
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                                                                      12 positive for COVID-19 regardless of whether the individual alleges they came into
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                                                                      13 contact with a source of COVID-19 at that establishment. This concern is even more
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                                                                      14 significant in relation to a widespread and often undetectable disease like COVID-

                                                                      15 19 which has infected millions of people to date, a huge share of whom were

                                                                      16 asymptomatic. Airline travel and public transportation will prove impossible.

                                                                      17 Individuals who test positive after they attend a football game, transit through an

                                                                      18 airport, eat at a restaurant, or shop at a mall or store will have carte blanche to sue

                                                                      19 whoever has the deepest pockets for emotional distress based entirely on having

                                                                      20 been at a venue where someone later is found to have tested positive for COVID-19.

                                                                      21 Allowing Plaintiffs’ claims to proceed, in other words, endorses the “nearly infinite

                                                                      22 and unpredictable liability for defendants” that Gottshall and Metro-North expressly

                                                                      23 set out to prevent. Ayers, 538 U.S. at 146.

                                                                      24      D. Plaintiffs Have not Plausibly Alleged Causation
                                                                      25
                                                                                 Even if Plaintiffs had any avenue for recovery, their claims independently fail
                                                                      26
                                                                           because they do not state any facts suggesting that any conduct by Defendant was
                                                                      27

                                                                      28 among those without symptoms…” (Compl. at p. 3.)

                                                                                                                     10
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                                                                       1 the factual or proximate cause of their positive diagnosis. Plaintiffs’ Complaint is a

                                                                       2 boilerplate pleading devoid of factual allegations demonstrating they contracted

                                                                       3 COVID-19 as a result of the alleged negligence. As pled, their Complaint makes it

                                                                       4 impossible to determine if they caught the virus before embarkation, at some port of

                                                                       5 call, through an asymptomatic individual (for which Defendant would likely not be

                                                                       6 liable), or during their post-cruise government managed transportation or

                                                                       7 quarantine. As such, Plaintiffs’ claims should be dismissed.

                                                                       8         Significantly, Plaintiffs do not allege they contracted COVID-19 on the
                                                                       9 vessel. Plaintiffs do not allege they experienced symptoms of the disease on the

                                                                      10 vessel (or at all). Plaintiffs do not allege they suffered physical harm, injury or any
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                                                                      11 ensuing sequelae related to COVID-19. Plaintiffs include a bare allegation that they
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                                                                      12 “got off the ship and flew back home to England, where they both tested positive for
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                                                                      13 the Coronavirus.” (Carr Compl. ¶ 21.) Plaintiffs do not specify any facts showing
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                                                                      14 how or where they contracted the virus or if it was a result of PRINCESS’s conduct.

                                                                      15 They have not alleged that they were sick on the vessel, that they were diagnosed

                                                                      16 with COVID-19 on the vessel, or even that the virus entered their bodies on the

                                                                      17 vessel. Plaintiffs conspicuously fail to assert that they came into direct contact with

                                                                      18 any passengers or crew who had COVID-19, and instead assert only that there were

                                                                      19 other passengers somewhere aboard the ship—one with thousands of passengers and

                                                                      20 crew—who had come into contact with people who were later discovered to be

                                                                      21 infected. Given that millions of people have tested positive for COVID-19, alleging

                                                                      22 causation requires more than being aboard Defendant’s vessel and then testing

                                                                      23 positive for COVID-19 at some point thereafter.

                                                                      24         Plaintiffs’ Complaint is precisely the sort of “[t]hreadbare recital [] of the
                                                                      25 elements of a cause of action” that cannot defeat a motion to dismiss. Ashcroft v.

                                                                      26 Iqbal, (2009) 556 U.S. 662, 678.
                                                                      27      E. Plaintiffs’ Claims for Punitive Damages are Foreclosed as a Matter of
                                                                      28         Law and Should be Dismissed or Stricken

                                                                                                                    11
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                                                                       1

                                                                       2         Finally, even if Plaintiffs’ claims could go forward on the merits, Plaintiffs’

                                                                       3 claims for punitive damages are foreclosed as a matter of law and should therefore

                                                                       4 be dismissed under Rule 12(b)(6) or stricken under Rule 12(f).

                                                                       5         The Supreme Court has recently clarified several important limitations on the

                                                                       6 availability of punitive damages in maritime cases, all of which make clear that

                                                                       7 punitive damages are unavailable in cases alleging only emotional distress—at least

                                                                       8
                                                                           where that distress is not intentionally inflicted. In The Dutra Group v. Batterton,

                                                                       9 139 S. Ct. 2275 (2019), the Supreme Court set forth a framework for deciding when

                                                                      10 punitive damages are available under general maritime law, and then applied that

                                                                      11 framework to hold that punitive damages are unavailable in                 claims for
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                                                                      12 unseaworthiness. First, where there is no federal statute authorizing punitive
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                                                                      13 damages, courts must determine “whether punitive damages have traditionally been
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                                                                      14 awarded” in the category of case at issue. Id. at 2283. If they are not, then the

                                                                      15 imposition of punitive damages is precluded. See Dunn v. Hatch, 792 F. App’x 449,

                                                                      16 451 (9th Cir. 2019) (Batterton “held that punitive damages cannot be recovered on

                                                                      17 claims in admiralty where there is no historical basis for allowing such damages”).

                                                                      18 If the imposition of punitive damages would create “bizarre disparities in the law,”

                                                                      19 that further counsels against their availability. Batterton, 139 S. Ct. at 2287. And in

                                                                      20 determining whether to permit punitive damages, courts must proceed “cautiously in

                                                                      21 light of Congress’s persistent pursuit of uniformity in the exercise of admiralty

                                                                      22 jurisdiction.” Id. at 2278 (Miles v. Apex Marine Corp., 498 U.S. 19, 27 (1986)).

                                                                      23         Under this framework, Plaintiffs cannot recover punitive damages. While the

                                                                      24 Ninth Circuit has occasionally upheld the imposition of punitive damages for certain

                                                                      25 claims under general maritime law, see Churchill v. F/V Fjord, 892 F.2d 763, 772

                                                                      26 (9th Cir. 1998), Defendant is aware of no binding precedent supporting the
                                                                      27 imposition of punitive damages for negligently (even grossly negligently) inflicted

                                                                      28 harm without actual physical injury or property damage. To the contrary, any

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                                                                       1 “tradition” of punitive damages in maritime cases is limited to cases where the

                                                                       2 defendant’s conduct is truly “outrageous”—cases of “enormity or deplorable

                                                                       3 behavior.” Dunn, 792 F. App’x at 452. And some courts have held expressly that

                                                                       4 punitive damages are unavailable to “personal injury claimants … except in

                                                                       5 exceptional circumstances such as willful failure to furnish maintenance and cure to

                                                                       6 a seaman (who are viewed as special wards of the court requiring additional

                                                                       7 protection), intentional denial of a vessel owner to furnish a seaworthy vessel to a

                                                                       8 seaman, and in those very rare situations of intentional wrongdoing.” In re Amtrak

                                                                       9 Sunset Ltd. Train Crash in Bayou Canot, Ala. on Sept. 22, 1993, 121 F.3d 1421,

                                                                      10 1429 (11th Cir. 1997). As in Batterton, the absence of case law supporting the
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                                                                      11 availability of punitive damages in suits for negligently inflicted harm absent
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                                                                      12 physical injuries “is practically dispositive.” Id. at 2284.
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                                                                      13         The imposition of punitive damages here would create the same “bizarre
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                                                                      14 disparit[y] in the law” that demanded foreclosure of punitive damages in Batterton.

                                                                      15 The Court there noted that, if punitives were permitted for unseaworthiness claims,

                                                                      16 “a mariner could make a claim for punitive damages if he was injured onboard a

                                                                      17 ship, but,” because of the Court’s prior decision in Miles, “his estate would lose the

                                                                      18 right to seek punitive damages if he died from his injuries.” 139 S. Ct. at 2287

                                                                      19 (emphasis added). The same disjoint would occur here, as the Death on the High

                                                                      20 Seas Act (DOHSA) expressly forbids the imposition of punitive damages for deaths

                                                                      21 caused by incidents more than three miles offshore. See 46 U.S.C. § 30303

                                                                      22 (allowing damages only for “pecuniary loss”); Batterton, 139 S. Ct. at 2285 n.8.

                                                                      23 Under Plaintiffs’ theory, passengers alleging exposure to a disease on the high seas

                                                                      24 can freely recover punitive damages if they got a positive diagnosis with no

                                                                      25 symptoms, and yet, if those same passengers died from the disease, DOHSA would

                                                                      26 squarely bar their claim for punitive damages. To avoid that arbitrary differential
                                                                      27 treatment, and to properly “pursue the policy expressed in congressional

                                                                      28 enactments” like DOHSA, punitive damages must be foreclosed. Id. at 2281.

                                                                                                                     13
                                                                           DEFENDANT’S MOTION TO DISMISS                                  2:20-CV-03482-RGK-SK
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                                                                       1          The policies at play further cement that punitive damages cannot be available.
                                                                       2 To the extent that liability alone did not create the “infinite and unpredictable

                                                                       3 liability,” Ayers, 538 U.S. at 146, the “stark unpredictability of punitive awards,”

                                                                       4 Exxon Shipping Co. v. Baker, 554 U.S. 471, 499 (2008), would make that threat an

                                                                       5 unavoidable reality.5 In turn, the open-ended threat of punitive damages would

                                                                       6 hobble “maritime commerce”—the “fundamental interest served by federal

                                                                       7 maritime jurisdiction.” Batterton, 139 S. Ct. at 2287.

                                                                       8 V.       CONCLUSION
                                                                       9          For the foregoing reasons, Defendant requests that the Court grant its motion
                                                                      10 to dismiss and to dismiss Plaintiffs’ Complaint.
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                                                                      14 DATED: June 9, 2020                           MALTZMAN & PARTNERS
                                                                      15

                                                                      16                                       By:     s/ Jeffrey B. Maltzman
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                                                                                                                       Attorneys for Defendant,
                                                                      20                                               Princess Cruise Lines Ltd.
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                                                                      26   Even if punitive damages were available, the Supreme Court has held that “under maritime law,
                                                                           5

                                                                         the maximum ratio of punitive damages to compensatory damages is 1-1.” Exxon Valdez v. Exxon
                                                                      27 Mobil, 568 F.3d 1077, 1079 (9th Cir. 2009). If this Court does not dismiss or strike the request for
                                                                         punitive damages altogether, the Court should limit Plaintiffs’ damages accordingly.
                                                                      28

                                                                                                                          14
                                                                           DEFENDANT’S MOTION TO DISMISS                                             2:20-CV-03482-RGK-SK
